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Eckart vs C & W and NAS 8 6
civil Fiie No. 05-5101 FEB 2 200

Stipulation and Order to Dismiss
cLERK

ORDER TO DlSMlSS
The Court having before it the above Stipulation, and finding no cross-
claims or counterclaims pending, it is hereby
ORDERED, ADJUDGED, AND DECREED that the complaint of Eckart
Trucking, |nc. against C & W Enterprises, |nc. and North American Specia|ty insurance

Company is hereby dismissed With prejudice and Without costs to any party.

Dated this 33 day of mo

BY THE COURT:

HoNoRABLE KAREN E. scHREiER
Chief Judge, US District Court,
District of South Dakota, Western Div.

 

ATTEST:

 

C|erk of Courts

(sEAL)

